Case 17-24341-CMG     Doc 33-2 Filed 04/04/18 Entered 04/04/18 10:53:20   Desc
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Case 17-24341-CMG     Doc 33-2 Filed 04/04/18 Entered 04/04/18 10:53:20   Desc
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Case 17-24341-CMG     Doc 33-2 Filed 04/04/18 Entered 04/04/18 10:53:20   Desc
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Case 17-24341-CMG     Doc 33-2 Filed 04/04/18 Entered 04/04/18 10:53:20   Desc
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